           Case 3:15-cr-02097-JAH                       Document 94               Filed 07/20/16              PageID.390               Page 1 of 4


    'IltAO 245B (CASD) (Rev 4i14) Judgment in a Criminal Case                                                                     JUL 20 2016
               Sheet 1



                                              UNITED STATES DISTRICT COUR~----l~~'·­
                                                  SOUTHERN DISTRICT OF CALIFORNIA

                    UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                        v.                                           (For Offenses Committed On or After November 1, 1987)

                           Robert Covarrubias -2                                     Case Number: 15-cr-02097-JAH-2
                                                                                     David R. Silldorf
                                                                                     Defendant's Attorney
    REGISTRATIO~ NO. 51058298

    o
    THE DEFENDANT:
    181 pleaded guilty to count(s) _O_n_e_o_f_th_e_In_d_i_ct_m_e_n_t,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    o     wufu~dg~l~oooooo~~ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(sl
18:1203(a)                             Conspiracy to Take a Hostage and Hostage Taking                                                      I




        The defendant is sentenced as provided in pages 2 through                4          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 19ff4.
 o   The defendant has been found not guilty on count(s)

 O Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0
                                                            ----------------------------------------------
                                                                             are 0 dismissed on the motion of the United States.
 181 Assessment: $100.00.

 181 No fine                                        o Forfeiture pursuant to order filed
                                                                                                   ------------                 , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                           15-cr-02097-JAH-2
      Case 3:15-cr-02097-JAH                      Document 94           Filed 07/20/16       PageID.391           Page 2 of 4


AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
           Sheet 2 .- Imprisonment

                                                                                              Judgment- Page _   .....2_ of   4
 DEFENDANT: Robert Covarrubias -2
 CASE NUMBER: 15-cr-02097-JAH-2
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         One hundred and forty-four months.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends custody in a facility with vocational training.




    o The defendant is remanded to the custody of the United States Marshal.
    o    The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.        on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before ------------------------------------------------------------------------
          o as notified by the United States MarshaL
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at _______________________ , with a certified copy of this judgment.


                                                                                            UNITE:.1) STATES MARSHAL

                                                                    By
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                    15-cr-02097-JAH-2
          Case 3:15-cr-02097-JAH                     Document 94              Filed 07/20/16               PageID.392           Page 3 of 4


AO 245B (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3 Supervised Rel~
                                                                                                               Judgment--Page   ---l- of _ _4_____
DEFENDANT: Robert Covarrubias -2                                                                       a
CASE NUMBER: 15-cr-02097-JAH-2
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Five years.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shaH not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
        Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The detendant shall comply with llie requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
        by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
  I)      the defendant shaH not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distnbute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confIScation of any
          contraband observed in plain view of the probation officer;
  II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to conflI1ll the
          defendant's compliance with such notification requirement.

                                                                                                                                    15-cr-02097-JAH-2
       Case 3:15-cr-02097-JAH                      Document 94               Filed 07/20/16             PageID.393              Page 4 of 4




    AO    (Rev. 9/00) Judgment in a Criminal Case Sheet 3                                            Judgment-Page:l of             1
    - Continued 2- Supervised Release

    Defendant: COVARRUBIAS, Robert


     CASE NUMBER: 15-cr-02097-JAH-2

                                             SPECIAL CONDITIONS OF SUPERVISION


1. Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to 120 days (non-punitive).

2. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
contribute to the costs of services rendered in an amount to be determined by the probation officer, based on ability to pay.

3. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

4. Resolve all outstanding warrants within 90 days.


5. Submit your person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation ofa condition of release; failure to submit to a search
may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to this condition.


6. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written material, or through any third-party
communication, with the victims or victims' family.


7. Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report and
available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of information
between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an amount to be
determined by the probation officer, based on the defendant's ability to pay.
